     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 1 of 30


1     DANIEL C. CEDERBORG
       County Counsel – State Bar No. 124260
2     KYLE R. ROBERSON
       Deputy County Counsel – State Bar No. 285735
3
      FRESNO COUNTY COUNSEL
4     2220 Tulare Street, 5th Floor
      Fresno, California 93721
5     Telephone: (559) 600-3479
      Facsimile: (559) 600-3480
6
      Email: kroberson@fresnocountyca.gov
7
      Attorneys for Defendant, COUNTY OF FRESNO
8
9
10                           IN THE UNITED STATES DISTRICT COURT

11                             EASTERN DISTRICT OF CALIFORNIA

12
13    NORTH COAST RIVERS ALLIANCE,               Case No. 1:16-cv-00307 DAD-SKO
      CALIFORNIA SPORTFISHING
14
      PROTECTION ALLIANCE, PACIFIC
15    COAST FEDERATION OF FISHERMEN’S           DEFENDANT COUNTY OF FRESNO’S
      ASSOCIATIONS, SAN FRANCISCO               ANSWER TO PLAINTIFFS’ THIRD
16    CRAB BOAT OWNERS ASSOCIATION,             AMENDED AND SUPPLEMENTAL
      INC., INSTITUTE FOR FISHERIES             COMPLAINT FOR DECLARATORY
17    RESOURCES,                                AND INJUNCTIVE RELIEF
18                             Plaintiffs,
19
                        v.
20
      UNTIED STATES DEPARTMENT OF THE
21    INTERIOR, UNITED STATES BUREAU
      OF RECLAMATION, CITY OF FOLSOM;
22    CITY OF ROSEVILLE, EAST BAY
      MUNICIPAL UTILITY DISTRICT;
23    PLACER COUNTY WATER AGENCY;
      SACRAMENTO COUNTY WATER
24
      AGENCY; SACRAMENTO MUNICIPAL
25    UTILITY DISTRICT; WESTLANDS
      WATER DISTRICT DISTRIBUTION
26    DISTRICT NO. 1; WESTLANDS WATER
      DISTRICT DISTRIBUTION DISTRICT
27    NO. 2; WESTLANDS WATER DISTRICT
      FINANCING CORPORATION; CITY OF
28    WEST SACRAMENTO;

                                                 1
         COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                 Case No. 1:16-CV-00307 DAD-SKO
     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 2 of 30


1     CITY OF SHASTA LAKE; MOUNTAIN
      GATE COMMUNITY SERVICES
2     DISTRICT; SHASTA COMMUNITY
      SERVICES DISTRICT; SHASTA COUNTY
3     WATER AGENCY; CITY OF REDDING;
      4-M WATER DISTRICT; BELLA VISTA
4     WATER DISTRICT; COLUSA COUNTY
5     WATER DISTRICT; CORNING WATER
      DISTRICT; CORTINA WATER DISTRICT;
6     DUNNIGAN WATER DISTRICT; GLIDE
      WATER DISTRICT; LA GRANDE WATER
7     DISTRICT; STONY CREEK WATER
      DISTRICT; CENTERVILLE COMMUNITY
8     SERVICES DISTRICT; CENTRAL SAN
      JOAQUIN WATER CONSERVATION
9     DISTRICT; DAVIS WATER DISTRICT;
10    DEL PUERTO WATER DISTRICT;
      GLENN VALLEY WATER DISTRICT;
11    MYERS-MARSH MUTUAL WATER
      COMPANY; ORLAND-ARTOIS WATER
12    DISTRICT; STOCKTON EAST WATER
      DISTRICT; WESTSIDE WATER
13    DISTRICT; BANTA-CARBONA
      IRRIGATION DISTRICT; BYRON
14    BETHANY IRRIGATION DISTRICT;
15    EAGLE FIELD WATER DISTRICT;
      FRESNO SLOUGH WATER DISTRICT;
16    HOLTHOUSE WATER DISTRICT; JAMES
      IRRIGATION DISTRICT; PROBERTA
17    WATER DISTRICT; RECLAMATION
      DISTRICT 1606; THE WEST SIDE
18    IRRIGATION DISTRICT; TRANQUILITY
      IRRIGATION DISTRICT; WEST
19    STANISLAUS IRRIGATION DISTRICT;
20    PATTERSON IRRIGATION DISTRICT;
      TRANQUILITY PUBLIC UTILITY
21    DISTRICT; CLEAR CREEK COMMUNITY
      SERVICES DISTRICT; CONTRA COSTA
22    WATER DISTRICT; COUNTY OF
      COLUSA; EL DORADO IRRIGATION
23    DISTRICT; CITY OF AVENAL; CITY OF
      COALINGA; CITY OF HURON; SAN
24    BENITO COUNTY WATER DISTRICT;
25    MERCY SPRINGS WATER DISTRICT;
      CITY OF LINDSAY; CITY OF ORANGE
26    COVE; CITY OF TRACY; COUNTY OF
      FRESNO; COUNTY OF MADERA;
27    COUNTY TULARE; HILLS VALLEY
      IRRIGATION DISTRICT;
28

                                            2
         COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                 Case No. 1:16-CV-00307 DAD-SKO
     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 3 of 30


1     INTERNATIONAL WATER DISTRICT;
      LAGUNA WATER DISTRICT; LOWER
2     TULE RIVER IRRIGATION DISTRICT;
      PIXLEY IRRIGATION WATER
3     DISTRICT; THE COELHO FAMILY
      TRUST; and TRI VALLEY WATER
4     DISTRICT,
5
                                Defendants,
6
      WESTLAND WATER DISTRICT, SAN
7     LUIS WATER DISTRICT, and PANOCHE
      WATER DISTRICT,
8
                           Intervenor-Defendants,
9
10
11          Defendant, COUNTY OF FRESNO (“Defendant”) hereby files its Answer to the Third

12    Amended and Supplemental Complaint for Declaratory and Injunctive Relieve (ECF No. 161,

13    hereafter “TAC”) of Plaintiffs NORTH COAST RIVERS ALLIANCE, CALIFORNIA

14    SPORTFISHING PROTECTION ALLIANCE, PACIFIC COAST FEDERATION OF

15    FISHERMEN’S ASSOCIATIONS, SAN FRANCISCO CRAB BOAT OWNERS

16    ASSOCIATION, INC., and INSTITUTE FOR FISHERIES RESOURCES (“Plaintiffs”) as

17    follows: At this present time, and pending further investigation into the matters alleged herein as

18    this case progresses, Defendant admits, denies and otherwise alleges and prays as follows:

19                                            INTRODUCTION

20          1.        Defendant asserts that the allegations contained in paragraph 1 of the TAC do not

21    require a response because the allegations constitute legal conclusions and consist of Plaintiffs’

22    characterization of this action. To the extent a response is deemed required, Defendant admits

23    that Plaintiffs have sued Federal Defendants for alleged violations of the National Environmental

24    Policy Act (“NEPA”), 42 U.S.C. §4321 et seq.; Central Valley Project Improvement Act

25    (“CVPIA”), Public Law No. 102-575, 108 Stat. 4600, Title XXXIV (1992); and Administrative

26    Procedures Act (“APA”), 5 United States Code (“U.S.C.”) §§ 701-706, and that Plaintiffs have

27    joined contractors as defendants and amended their complaint. Defendant denies that Plaintiffs

28    are entitled to any relief.

                                                       3
         COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                 Case No. 1:16-CV-00307 DAD-SKO
     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 4 of 30


1             2.     Defendant asserts that the allegations contained in paragraph 2 of the FAC contain

2     Plaintiffs’ characterization of their previous claim for relief, which the Court dismissed as moot

3     without prejudice (EFC No. 151), and previous allegations, to which no response is required. As

4     to the remaining allegations in paragraph 2, Defendant lacks sufficient information or knowledge

5     to admit or deny the allegations and, on that basis, denies said allegations.

6             3.     Defendant asserts that the allegations contained in paragraph 3 of the FAC contain

7     Plaintiffs’ characterization of this Court’s Order Granting Motions to Dismiss First Claim of

8     Relief as Moot Without Prejudice and Granting Motion to Compel Joinder of Absent Contractors

9     filed November 1, 2021, (EFC No. 151), which speaks for itself, and therefore requires no

10    response. To the extent a response is required, Defendant admits that Plaintiffs filed this TAC.

11    As to the remaining allegations in paragraph 3, Defendant lacks sufficient information or

12    knowledge to admit or deny the allegations and, on that basis, denies said allegations.

13            4.     Defendant asserts that the allegations contained in paragraph 4 of the TAC

14    contains Plaintiffs’ characterization of the TAC and their previous, dismissed claim to which no

15    response is required. To the extent a response is required, Defendant admits that this Court

16    previously issued an order dismissing Plaintiffs’ First Claim for Relief as moot and without

17    prejudice. As to the remaining allegations in paragraph 4, Defendant lacks sufficient information

18    or knowledge to admit or deny the allegations and, on that basis, denies said allegations.

19            5.     Defendant asserts that the allegations contained in paragraph 5 of the TAC

20    constitute legal conclusions to which no response is required. To the extent a response is deemed

21    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

22    contained in paragraph 5, and on that basis, denies said allegations.

23            6.     Defendant asserts that the allegations contained in paragraph 6 of the TAC

24    constitute legal conclusions to which no response is required. To the extent a response is deemed

25    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

26    contained in paragraph 6, and on that basis, denies said allegations.

27    ///

28    ///

                                                       4
            COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                    Case No. 1:16-CV-00307 DAD-SKO
     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 5 of 30


1             7.     Defendant asserts that the allegations contained in paragraph 7 of the TAC

2     contains Plaintiffs’ characterization of the TAC to which no response is required. To the extent a

3     response is deemed required, Defendant lacks sufficient information or knowledge to admit or

4     deny the allegations contained in paragraph 7, and on that basis, denies said allegations.

5             8.     Defendant asserts that the allegations contained in paragraph 8 of the TAC

6     constitute legal conclusions to which no response is required. To the extent a response is deemed

7     required, Defendant admits that it has been named and joined as a defendant in this action. As to

8     the remaining allegations in paragraph 8, Defendant lacks sufficient information or knowledge to

9     admit or deny the allegations and, on that basis, denies said allegations.

10            9.     Defendant asserts that the allegations contained in paragraph 9 of the TAC

11    constitute legal conclusions to which no response is required. To the extent a response is deemed

12    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

13    contained in paragraph 9, and on that basis, denies said allegations.

14            10.    Defendant asserts that the allegations contained in paragraph 10 of the TAC

15    constitute legal conclusions and Plaintiffs’ characterization of 43 U.S.C. §§ 423e and 511, which

16    speak for themselves, and therefore requires no response. To the extent a response is deemed

17    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

18    contained in paragraph 10, and on that basis, denies said allegations.

19            11.    Defendant asserts that the allegations contained in paragraph 11 of the TAC

20    constitute legal conclusions and Plaintiffs’ characterization of 43 U.S.C. §§ 426.22(b) and (d),

21    which speak for themselves, and therefore requires no response. To the extent a response is

22    deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

23    allegations contained in paragraph 11, and on that basis, denies said allegations.

24            12.    Defendant asserts that the allegations contained in paragraph 12 of the TAC

25    constitute legal conclusions to which no response is required. To the extent a response is deemed

26    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

27    contained in paragraph 12, and on that basis, denies said allegations.

28    ///

                                                       5
            COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                    Case No. 1:16-CV-00307 DAD-SKO
     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 6 of 30


1             13.    Defendant asserts that the allegations contained in paragraph 13 of the TAC

2     constitute legal conclusions and Plaintiffs’ characterization of CVPIA, which speak for

3     themselves, and therefore requires no response. To the extent a response is deemed required,

4     Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

5     in paragraph 13, and on that basis, denies said allegations.

6             14.    Defendant asserts that the allegations contained in paragraph 14 of the TAC

7     constitute legal conclusions to which no response is required. To the extent a response is deemed

8     required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

9     contained in paragraph 14, and on that basis, denies said allegations.

10            15.    Defendant denies the allegations in paragraph 15 of the TAC.

11                                    JURISDICTION AND VENUE

12            16.    Defendant asserts that the allegations contained in paragraph 16 of the TAC

13    constitute legal conclusions to which no response is required. To the extent a response is deemed

14    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

15    contained in paragraph 16, and on that basis, denies said allegations.

16            17.    Defendant asserts that the allegations contained in paragraph 17 of the TAC

17    constitute legal conclusions to which no response is required. To the extent a response is deemed

18    required, Defendant denies the allegations except to admit that venue is proper in this Court.

19            18.    Defendant asserts that the allegations contained in paragraph 18 of the TAC

20    constitute legal conclusions to which no response is required. To the extent a response is deemed

21    required, Defendant does not dispute that Plaintiffs have alleged a justiciable controversy

22    between the parties. Defendant denies the remaining allegations contained in paragraph 18 of the

23    TAC.

24            19.    Defendant asserts that the allegations contained in paragraph 19 of the TAC

25    constitute legal conclusions to which no response is required. To the extent a response is deemed

26    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

27    contained in paragraph 19, and on that basis, denies said allegations.

28    ///

                                                       6
            COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                    Case No. 1:16-CV-00307 DAD-SKO
     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 7 of 30


1          20.       Defendant denies the allegations contained in first four sentences of paragraph 20

2     of the TAC. The remaining allegations in paragraph 20 contain conclusions of law and/or

3     Plaintiffs’ characterization of NEPA and the CVPIA, which speak for themselves, and therefore

4     require no response. To the extent a response is deemed required, Defendant lacks sufficient

5     information or knowledge to admit or deny the allegations contained in paragraph 20, and on that

6     basis, denies said allegations.

7          21.       Defendant asserts that the allegations contained in paragraph 21 of the TAC

8     constitute legal conclusions and characterizations of NEPA, CVPIA, Reclamation Law, and

9     Ninth Circuit cases, which speaks for themselves, and therefore requires no response. To the

10    extent a response is deemed required, Defendant lacks sufficient information or knowledge to

11    admit or deny the allegations contained in the second sentence of paragraph 21, and on that basis,

12    denies said allegations.

13         22.       Defendant asserts that the allegations contained in paragraph 22 of the TAC

14    constitute legal conclusions to which no response is required. To the extent a response is deemed

15    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

16    contained in paragraph 22, and on that basis, denies said allegations.

17         23.       Defendant asserts that the allegations contained in paragraph 23 of the TAC

18    constitute legal conclusions to which no response is required. To the extent a response is deemed

19    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

20    contained in paragraph 23, and on that basis, denies said allegations.

21                                                PARTIES

22         24.       Defendant admits that Plaintiff NORTH COAST RIVER ALLIANCE is a

23    plaintiff in this matter. Defendant lacks sufficient information or knowledge to admit or deny the

24    remaining allegations contained in paragraph 24 of the TAC, and on that basis, denies said

25    allegations.

26         25.       Defendant admits that Plaintiff PACIFIC COAST FEDERATION OF

27    FISHERMEN’S ASSOCIATION is a plaintiff in this matter. Defendant lacks sufficient

28    information or knowledge to admit or deny the remaining allegations contained in paragraph 25

                                                       7
         COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                 Case No. 1:16-CV-00307 DAD-SKO
     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 8 of 30


1     of the TAC, and on that basis, denies said allegations.

2             26.    Defendant admits that Plaintiff SAN FRANCISCO CRAB BOAT OWNERS

3     ASSOCIATION, INC., is a plaintiff in this matter. Defendant lacks sufficient information or

4     knowledge to admit or deny the remaining allegations contained in paragraph 26 of the TAC, and

5     on that basis, denies said allegations.

6             27.    Defendant admits that Plaintiff INSTITUTE FOR FISHERIES RESOURCES is a

7     plaintiff in this matter. Defendant lacks sufficient information or knowledge to admit or deny the

8     remaining allegations contained in paragraph 27 of the TAC, and on that basis, denies said

9     allegations.

10            28.    Defendant admits that Plaintiff CALIFORNIA SPORTFISHING PROTECTION

11    ALLIANCE is a plaintiff in this matter. Defendant lacks sufficient information or knowledge to

12    admit or deny the remaining allegations contained in paragraph 28 of the TAC, and on that basis,

13    denies said allegations.

14            29.    Defendant asserts that the allegations in paragraph 29 of the TAC contains

15    Plaintiffs’ characterization of this action and conclusions of law to which no response is

16    required. To the extent a response is required, Defendant denies the allegations in paragraph 29.

17            30.    Defendant admits the allegations in paragraph 30 of the TAC insofar that

18    Defendant UNITED STATES DEPARTMENT OF THE INTERIOR is a federal agency.

19    Defendant lacks sufficient information or knowledge to admit or deny the remaining allegations

20    contained in paragraph 30, and on that basis, denies said allegations.

21            31.    Defendant admits the allegations in paragraph 31 of the TAC insofar that

22    Defendant UNITED STATES BUREAU OF RECLAMATION is charged with the duty of

23    managing the Central Valley Project. Defendant lacks sufficient information or knowledge to

24    admit or deny the remaining allegations contained in paragraph 31, and on that basis, denies said

25    allegations.

26            32.    Defendant lacks sufficient information or knowledge to admit or deny the

27    allegations contained in paragraph 32 of the TAC, and on that basis, denies said allegations.

28    ///

                                                       8
            COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                    Case No. 1:16-CV-00307 DAD-SKO
     Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 9 of 30


1          33.       Defendant lacks sufficient information or knowledge to admit or deny the

2     allegations contained in paragraph 33 of the TAC, and on that basis, denies said allegations.

3          34.       Defendant lacks sufficient information or knowledge to admit or deny the

4     allegations contained in paragraph 34 of the TAC, and on that basis, denies said allegations.

5          35.       Defendant lacks sufficient information or knowledge to admit or deny the

6     allegations contained in paragraph 35 of the TAC, and on that basis, denies said allegations.

7          36.       Defendant lacks sufficient information or knowledge to admit or deny the

8     allegations contained in paragraph 36 of the TAC, and on that basis, denies said allegations.

9          37.       Defendant lacks sufficient information or knowledge to admit or deny the

10    allegations contained in paragraph 37 of the TAC, and on that basis, denies said allegations.

11         38        Defendant lacks sufficient information or knowledge to admit or deny the

12    allegations contained in paragraph 38 of the TAC, and on that basis, denies said allegations.

13         39.       Defendant lacks sufficient information or knowledge to admit or deny the

14    allegations contained in paragraph 39 of the TAC, and on that basis, denies said allegations.

15         40.       Defendant lacks sufficient information or knowledge to admit or deny the

16    allegations contained in paragraph 40 of the TAC, and on that basis, denies said allegations.

17         41.       Defendant lacks sufficient information or knowledge to admit or deny the

18    allegations contained in paragraph 41 of the TAC, and on that basis, denies said allegations.

19         42.       Defendant lacks sufficient information or knowledge to admit or deny the

20    allegations contained in paragraph 42 of the TAC, and on that basis, denies said allegations.

21         43.       Defendant lacks sufficient information or knowledge to admit or deny the

22    allegations contained in paragraph 43 of the TAC, and on that basis, denies said allegations.

23         44.       Defendant lacks sufficient information or knowledge to admit or deny the

24    allegations contained in paragraph 44 of the TAC, and on that basis, denies said allegations.

25         45.       Defendant lacks sufficient information or knowledge to admit or deny the

26    allegations contained in paragraph 45 of the TAC, and on that basis, denies said allegations.

27         46.       Defendant lacks sufficient information or knowledge to admit or deny the

28    allegations contained in paragraph 46 of the TAC, and on that basis, denies said allegations.

                                                      9
         COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                 Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 10 of 30


1         47.       Defendant lacks sufficient information or knowledge to admit or deny the

2    allegations contained in paragraph 47 of the TAC, and on that basis, denies said allegations.

3         48.       Defendant lacks sufficient information or knowledge to admit or deny the

4    allegations contained in paragraph 48 of the TAC, and on that basis, denies said allegations.

5         49.       Defendant lacks sufficient information or knowledge to admit or deny the

6    allegations contained in paragraph 49 of the TAC, and on that basis, denies said allegations.

7         50.       Defendant lacks sufficient information or knowledge to admit or deny the

8    allegations contained in paragraph 50 of the TAC, and on that basis, denies said allegations.

9         51.       Defendant lacks sufficient information or knowledge to admit or deny the

10   allegations contained in paragraph 51 of the TAC, and on that basis, denies said allegations.

11        52.       Defendant lacks sufficient information or knowledge to admit or deny the

12   allegations contained in paragraph 52 of the TAC, and on that basis, denies said allegations.

13        53.       Defendant lacks sufficient information or knowledge to admit or deny the

14   allegations contained in paragraph 53 of the TAC, and on that basis, denies said allegations.

15        54.       Defendant lacks sufficient information or knowledge to admit or deny the

16   allegations contained in paragraph 54 of the TAC, and on that basis, denies said allegations.

17        55.       Defendant lacks sufficient information or knowledge to admit or deny the

18   allegations contained in paragraph 55 of the TAC, and on that basis, denies said allegations.

19        56.       Defendant lacks sufficient information or knowledge to admit or deny the

20   allegations contained in paragraph 56 of the TAC, and on that basis, denies said allegations.

21        57.       Defendant lacks sufficient information or knowledge to admit or deny the

22   allegations contained in paragraph 57 of the TAC, and on that basis, denies said allegations.

23        58.       Defendant lacks sufficient information or knowledge to admit or deny the

24   allegations contained in paragraph 58 of the TAC, and on that basis, denies said allegations.

25        59.       Defendant lacks sufficient information or knowledge to admit or deny the

26   allegations contained in paragraph 59 of the TAC, and on that basis, denies said allegations.

27        60.       Defendant lacks sufficient information or knowledge to admit or deny the

28   allegations contained in paragraph 60 of the TAC, and on that basis, denies said allegations.

                                                     10
       COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                               Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 11 of 30


1         61.       Defendant lacks sufficient information or knowledge to admit or deny the

2    allegations contained in paragraph 61 of the TAC, and on that basis, denies said allegations.

3         62.       Defendant lacks sufficient information or knowledge to admit or deny the

4    allegations contained in paragraph 62 of the TAC, and on that basis, denies said allegations.

5         63.       Defendant lacks sufficient information or knowledge to admit or deny the

6    allegations contained in paragraph 63 of the TAC, and on that basis, denies said allegations.

7         64.       Defendant lacks sufficient information or knowledge to admit or deny the

8    allegations contained in paragraph 64 of the TAC, and on that basis, denies said allegations.

9         65.       Defendant lacks sufficient information or knowledge to admit or deny the

10   allegations contained in paragraph 65 of TAC, and on that basis, denies said allegations.

11        66.       Defendant lacks sufficient information or knowledge to admit or deny the

12   allegations contained in paragraph 66 of the TAC, and on that basis, denies said allegations.

13        67.       Defendant lacks sufficient information or knowledge to admit or deny the

14   allegations contained in paragraph 67 of the TAC, and on that basis, denies said allegations.

15        68.       Defendant lacks sufficient information or knowledge to admit or deny the

16   allegations contained in paragraph 68 of the TAC, and on that basis, denies said allegations.

17        69.       Defendant lacks sufficient information or knowledge to admit or deny the

18   allegations contained in paragraph 69 of the TAC, and on that basis, denies said allegations.

19        70.       Defendant lacks sufficient information or knowledge to admit or deny the

20   allegations contained in paragraph 70 of the TAC, and on that basis, denies said allegations.

21        71.       Defendant lacks sufficient information or knowledge to admit or deny the

22   allegations contained in paragraph 71 of the TAC, and on that basis, denies said allegations.

23        72.       Defendant lacks sufficient information or knowledge to admit or deny the

24   allegations contained in paragraph 72 of the TAC, and on that basis, denies said allegations.

25        73.       Defendant lacks sufficient information or knowledge to admit or deny the

26   allegations contained in paragraph 73 of the TAC, and on that basis, denies said allegations.

27        74.       Defendant lacks sufficient information or knowledge to admit or deny the

28   allegations contained in paragraph 74 of the TAC, and on that basis, denies said allegations.

                                                     11
       COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                               Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 12 of 30


1         75.       Defendant lacks sufficient information or knowledge to admit or deny the

2    allegations contained in paragraph 75 of the TAC, and on that basis, denies said allegations.

3         76.       Defendant lacks sufficient information or knowledge to admit or deny the

4    allegations contained in paragraph 76 of the TAC, and on that basis, denies said allegations.

5         77.       Defendant lacks sufficient information or knowledge to admit or deny the

6    allegations contained in paragraph 77 of the TAC, and on that basis, denies said allegations.

7         78.       Defendant lacks sufficient information or knowledge to admit or deny the

8    allegations contained in paragraph 78 of the TAC, and on that basis, denies said allegations.

9         79.       Defendant lacks sufficient information or knowledge to admit or deny the

10   allegations contained in paragraph 79 of the TAC, and on that basis, denies said allegations.

11        80.       Defendant lacks sufficient information or knowledge to admit or deny the

12   allegations contained in paragraph 80 of the TAC, and on that basis, denies said allegations.

13        81.       Defendant lacks sufficient information or knowledge to admit or deny the

14   allegations contained in paragraph 81 of the FAC, and on that basis, denies said allegations.

15        82.       Defendant lacks sufficient information or knowledge to admit or deny the

16   allegations contained in paragraph 82 of the TAC, and on that basis, denies said allegations.

17        83.       Defendant lacks sufficient information or knowledge to admit or deny the

18   allegations contained in paragraph 83 of the TAC, and on that basis, denies said allegations.

19        84.       Defendant lacks sufficient information or knowledge to admit or deny the

20   allegations contained in paragraph 84 of the TAC, and on that basis, denies said allegations.

21        85.       Defendant lacks sufficient information or knowledge to admit or deny the

22   allegations contained in paragraph 85 of the TAC, and on that basis, denies said allegations.

23        86.       Defendant lacks sufficient information or knowledge to admit or deny the

24   allegations contained in paragraph 86 of the FAC, and on that basis, denies said allegations.

25        87.       Defendant lacks sufficient information or knowledge to admit or deny the

26   allegations contained in paragraph 87 of the TAC, and on that basis, denies said allegations.

27        88.       Defendant lacks sufficient information or knowledge to admit or deny the

28   allegations contained in paragraph 88 of the TAC, and on that basis, denies said allegations.

                                                     12
       COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                               Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 13 of 30


1         89.       Defendant lacks sufficient information or knowledge to admit or deny the

2    allegations contained in paragraph 89 of the TAC, and on that basis, denies said allegations.

3         90.       Defendant lacks sufficient information or knowledge to admit or deny the

4    allegations contained in paragraph 90 of the TAC, and on that basis, denies said allegations.

5         91.       Defendant admits the allegations contained in paragraph 91 of the TAC and avers

6    that Defendant is contracted to receive up to 3,000 acre-feet of water service.

7         92.       Defendant lacks sufficient information or knowledge to admit or deny the

8    allegations contained in paragraph 92 of the TAC, and on that basis, denies said allegations.

9         93.       Defendant lacks sufficient information or knowledge to admit or deny the

10   allegations contained in paragraph 93 of the TAC, and on that basis, denies said allegations.

11        94.       Defendant lacks sufficient information or knowledge to admit or deny the

12   allegations contained in paragraph 94 of the TAC, and on that basis, denies said allegations.

13        95.       Defendant lacks sufficient information or knowledge to admit or deny the

14   allegations contained in paragraph 95 of the TAC, and on that basis, denies said allegations.

15        96.       Defendant lacks sufficient information or knowledge to admit or deny the

16   allegations contained in paragraph 96 of the TAC, and on that basis, denies said allegations.

17        97.       Defendant lacks sufficient information or knowledge to admit or deny the

18   allegations contained in paragraph 97 of the TAC, and on that basis, denies said allegations.

19        98.       Defendant lacks sufficient information or knowledge to admit or deny the

20   allegations contained in paragraph 98 of the TAC, and on that basis, denies said allegations.

21        99.       Defendant lacks sufficient information or knowledge to admit or deny the

22   allegations contained in paragraph 99 of the TAC, and on that basis, denies said allegations.

23        100.      Defendant lacks sufficient information or knowledge to admit or deny the

24   allegations contained in paragraph 100 of the TAC, and on that basis, denies said allegations.

25        101.      Defendant lacks sufficient information or knowledge to admit or deny the

26   allegations contained in paragraph 101 of the TAC, and on that basis, denies said allegations.

27        102.      Defendant lacks sufficient information or knowledge to admit or deny the

28   allegations contained in paragraph 102 of the TAC, and on that basis, denies said allegations.

                                                      13
       COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                               Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 14 of 30


1         103.      Defendant lacks sufficient information or knowledge to admit or deny the

2    allegations contained in paragraph 103 of the TAC, and on that basis, denies said allegations.

3         104.      Defendant lacks sufficient information or knowledge to admit or deny the

4    allegations contained in paragraph 104 of the TAC, and on that basis, denies said allegations.

5                                            BACKGROUND

6                                      I.    Environmental Setting

7         105.      Defendant lacks sufficient information or knowledge to admit or deny the

8    allegations contained in paragraph 105 of the TAC, and on that basis, denies said allegations

9         106.      Defendant asserts that the allegations contained in paragraph 106 of the TAC

10   contains Plaintiffs’ characterization of a June 4, 2009 letter from the National Marine Fisheries

11   Services (“NMFS”) to Reclamation, which speaks for itself, and therefore requires no response.

12   To the extent a response is deemed required, Defendant lacks sufficient information or

13   knowledge to admit or deny the allegations contained in paragraph 106, and on that basis, denies

14   said allegations.

15        107.      Defendant asserts that the allegations contained in paragraph 107 of the TAC

16   contains Plaintiffs’ characterization of a December 15, 2008 Biological Opinion issued by the

17   United States Fish and Wildlife (“FWS”), which speaks for itself, and therefore requires no

18   response. To the extent a response is deemed required, Defendant lacks sufficient information or

19   knowledge to admit or deny the allegations contained in paragraph 107, and on that basis, denies

20   said allegations.

21        108.      Defendant lacks sufficient information or knowledge to admit or deny the

22   allegations contained in paragraph 108 of the TAC, and on that basis, denies said allegations.

23        109.      Defendant denies the allegations in paragraph 109 of the TAC.

24        110.      Defendant asserts that the allegations in paragraph 110 of the TAC contains

25   Plaintiffs’ characterization of FWS’s Biological Opinion for the 2016 interim contracts, which

26   speaks for itself, and therefore requires no response. To the extent a response is deemed required,

27   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

28   in paragraph 110, and on that basis, denies said allegations.

                                                      14
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 15 of 30


1                                              II.   CVPIA

2         111.      Defendant asserts that the allegations in paragraph 111 of the TAC contains

3    Plaintiffs’ characterization of the CVPIA, which speaks for itself, and therefore no response is

4    necessary. To the extent a response is deemed required, Defendant lacks sufficient information

5    or knowledge to admit or deny the allegations contained in paragraph 111, and on that basis,

6    denies said allegations.

7         112.      Defendant asserts that the allegations in paragraph 112 of the TAC contains

8    Plaintiffs’ characterization of the CVPIA, which speaks for itself, and therefore no response is

9    necessary. To the extent a response is deemed required, Defendant lacks sufficient information

10   or knowledge to admit or deny the allegations contained in paragraph 112, and on that basis,

11   denies said allegations.

12        113.      Defendant lacks sufficient information or knowledge to admit or deny the

13   allegations contained in paragraph 113, and on that basis, denies said allegations.

14                                   III. Short-Term Contracts EAs

15        114.      Defendant asserts that the allegations in paragraph 114 of the TAC contains legal

16   conclusions and Plaintiffs’ characterization of the CVPIA and the Ninth Circuit’s Amended

17   Memorandum of Decision in Pacific Coast Federation of Fishermen’s Associations v. United

18   States Department of Interior (“PCFFA”), 655 Fed. Appx. 595, 598 (9th Cir. 2016), which

19   speak for themselves, and therefore requires no response. To the extent a response is deemed

20   required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

21   contained in paragraph 114, and on that basis, denies said allegations.

22        115.      Defendant lacks sufficient information or knowledge to admit or deny the

23   allegations contained in paragraph 115 of the TAC, and on that basis, denies said allegations.

24        116.      Defendant admits the allegations in paragraph 116 of the TAC.

25        117.      Defendant asserts that the allegations in paragraph 117 of the TAC contains

26   Plaintiffs’ characterization of the PCFFA, which speak for itself, and therefore requires no

27   response. To the extent a response is deemed required, Defendant lacks sufficient information or

28   knowledge to admit or deny the allegations contained in paragraph 117, and on that basis, denies

                                                      15
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 16 of 30


1    said allegations.

2         118.      Defendant lacks sufficient information or knowledge to admit or deny the

3    allegations contained in paragraph 118 of the TAC, and on that basis, denies said allegations.

4         119.      Defendant lacks sufficient information or knowledge to admit or deny the

5    allegations contained in paragraph 119 of the TAC, and on that basis, denies said allegations.

6         120.      Defendant lacks sufficient information or knowledge to admit or deny the

7    allegations contained in paragraph 120 of the TAC, and on that basis, denies said allegations.

8         121.      Defendant lacks sufficient information or knowledge to admit or deny the

9    allegations contained in paragraph 121 of the TAC, and on that basis, denies said allegations.

10        122.      Defendant asserts that the allegations in paragraph 122 of the TAC contains legal

11   conclusions and Plaintiffs’ characterization of 2016 EA and FONSI, which speak for themselves,

12   and therefore requires no response. To the extent a response is deemed required, Defendant lacks

13   sufficient information or knowledge to admit or deny the allegations contained in paragraph 122,

14   and on that basis, denies said allegations.

15        123.      Defendant asserts that the allegations in paragraph 123 of the TAC contains legal

16   conclusions and Plaintiffs’ characterization of 2016 EA and FWS’s 2016 Biological Opinion,

17   which speak for themselves, and therefore requires no response. To the extent a response is

18   deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

19   allegations contained in paragraph 123, and on that basis, denies said allegations.

20        124.      Defendant asserts that the allegations in paragraph 124 of the TAC contains legal

21   conclusions and Plaintiffs’ characterization of 2016 EA and Amended Memorandum of Decision

22   in PCFFA, which speak for themselves, and therefore requires no response. To the extent a

23   response is deemed required, Defendant lacks sufficient information or knowledge to admit or

24   deny the allegations contained in paragraph 124, and on that basis, denies said allegations.

25        125.      Defendant lacks sufficient information or knowledge to admit or deny the

26   allegations contained in paragraph 125 of the TAC, and on that basis, denies said allegations.

27        126.      Defendant lacks sufficient information or knowledge to admit or deny the

28   allegations contained in paragraph 126 of the TAC, and on that basis, denies said allegations.

                                                      16
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 17 of 30


1         127.        Defendant lacks sufficient information or knowledge to admit or deny the

2    allegations contained in paragraph 127 of the TAC, and on that basis, denies said allegations.

3                            IV. Long-Term Contract Environmental Review

4         128.        Defendant asserts that there are no factual allegations contained in paragraph 128

5    of the TAC, only statements of the law and/or legal conclusions, to which no response is

6    required. To the extent this paragraph paraphrases, mis-states or inaccurately quotes the law, the

7    actual legal provisions speak for themselves.

8         129.        Defendant asserts that the allegations in paragraph 129 of the TAC contains legal

9    conclusions and therefore requires no response. To the extent a response is deemed required,

10   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

11   in paragraph 129, and on that basis, denies said allegations.

12        130.        Defendant asserts that the allegations in paragraph 130 of the TAC contains legal

13   conclusions and therefore requires no response. To the extent a response is deemed required,

14   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

15   in paragraph 130, and on that basis, denies said allegations.

16                                           V.    The WIIN Act

17        131.        Defendant asserts that there are no factual allegations contained in paragraph 131

18   of the FAC, only statements of the law and/or legal conclusions, to which no response is

19   required. Defendant admits that the Water Infrastructure Improvements of the Nation Act

20   (“WIIN Act”) was enacted December 16, 2016. Defendant denies the remaining allegations in

21   paragraph 131.

22        132.        Defendant asserts that paragraph 132 of the TAC contains conclusions of law and

23   Plaintiffs’ characterization of the WIIN Act, which speaks for itself, and therefore requires no

24   response. To the extent a response is deemed required, Defendant lacks sufficient information or

25   knowledge to admit or deny the allegations contained in paragraph 132, and on that basis, denies

26   said allegations.

27        133.        Defendant asserts that paragraph 133 of the TAC contains conclusions of law and

28   Plaintiffs’ characterization of the WIIN Act, which speaks for itself, and therefore requires no

                                                       17
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 18 of 30


1    response. To the extent a response is deemed required, Defendant lacks sufficient information or

2    knowledge to admit or deny the allegations contained in paragraph 133, and on that basis, denies

3    said allegations.

4         134.      Defendant asserts that paragraph 134 of the TAC contains conclusions of law and

5    Plaintiffs’ characterization of the WIIN Act, which speaks for itself, and therefore requires no

6    response. To the extent a response is deemed required, Defendant lacks sufficient information or

7    knowledge to admit or deny the allegations contained in paragraph 134, and on that basis, denies

8    said allegations.

9         135.      Defendant asserts that paragraph 135 of the TAC contains conclusions of law and

10   Plaintiffs’ characterization of 43 U.S.C § 390mm, which speaks for itself, and therefore requires

11   no response. To the extent a response is deemed required, Defendant lacks sufficient information

12   or knowledge to admit or deny the allegations contained in paragraph 135, and on that basis,

13   denies said allegations.

14        136.      Defendant asserts that paragraph 136 of the TAC contains conclusions of law and

15   Plaintiffs’ characterization of the WIIN Act and 43 U.S.C § 390mm, which speaks for

16   themselves, and therefore requires no response. To the extent a response is deemed required,

17   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

18   in paragraph 136, and on that basis, denies said allegations.

19        137.      Defendant asserts that paragraph 137 of the TAC contains conclusions of law and

20   Plaintiffs’ characterization of the WIIN Act, which speaks for itself, and therefore requires no

21   response. To the extent a response is deemed required, Defendant lacks sufficient information or

22   knowledge to admit or deny the allegations contained in paragraph 137, and on that basis, denies

23   said allegations.

24        138.      Defendant denies the allegations contained in the last sentence of paragraph 138

25   of the TAC. The remaining allegations contain conclusions of law and/or Plaintiffs’

26   characterization of the CVPIA and NEAP, which speak for themselves, and therefore require no

27   response. To the extent a response is deemed required, Defendant lacks sufficient information or

28   knowledge to admit or deny the allegations contained in paragraph 138, and on that basis, denies

                                                      18
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 19 of 30


1    said allegations.

2                                     FIRST CLAIM FOR RELIEF

3                          (Violation of National Environmental Policy Act-
                          Failure to Prepare an EIS for Repayment Contracts)
4
                                         (Against All Defendants)
5
6         139.      Defendant incorporates by reference its responses to paragraphs 1 through 138 as
7    though fully set forth herein.
8         140.      Defendant asserts that the allegations contained in paragraph 140 of the TAC
9    constitute legal conclusions to which no response is required. To the extent a response is deemed
10   required, Defendant lacks sufficient information or knowledge to admit or deny the allegations
11   contained in paragraph 140, and on that basis, denies said allegations.
12        141.      Defendant lacks sufficient information or knowledge to admit or deny the
13   allegations contained in paragraph 141 of the TAC, and on that basis, denies said allegations.
14        142.      Defendant lacks sufficient information or knowledge to admit or deny the
15   allegations contained in paragraph 142 of the TAC, and on that basis, denies said allegations.
16        143.      Defendant lacks sufficient information or knowledge to admit or deny the
17   allegations contained in paragraph 143 of the TAC, and on that basis, denies said allegations.
18        144.      Defendant admits that it is a party to a valid repayment contract with
19   Reclamation. Defendant lacks sufficient information or knowledge to admit or deny the
20   allegations contained in paragraph 144 of the TAC, and on that basis, denies said allegations.
21        145.      Defendant asserts that the allegations contained in paragraph 145 of the TAC
22   constitute legal conclusions to which no response is required. To the extent a response is deemed
23   required, Defendant lacks sufficient information or knowledge to admit or deny the allegations
24   contained in paragraph 145, and on that basis, denies said allegations.
25        146.      Defendant asserts that the allegations contained in paragraph 146 of the TAC
26   constitute legal conclusions to which no response is required. To the extent a response is deemed
27   required, Defendant lacks sufficient information or knowledge to admit or deny the allegations
28   contained in paragraph 146, and on that basis, denies said allegations.

                                                     19
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 20 of 30


1         147.      Defendant lacks sufficient information or knowledge to admit or deny the

2    allegations contained in paragraph 147 of the TAC, and on that basis, denies said allegations

3         148.      Defendant asserts that the allegations in paragraph 148 of the TAC contains legal

4    conclusions and Plaintiffs’ characterization of the 40 C.F.R. § 1508.27 and the Ninth Circuit’s

5    opinion in Ocean Advocates v. U.S. Army Corps. of Engineers, 402 F.3d 846, 865 (9th Cir.

6    2004), which speak for themselves, and therefore requires no response. To the extent a response

7    is deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

8    allegations contained in paragraph 148, and on that basis, denies said allegations.

9         149.      Defendant asserts that the allegations in paragraph 149 of the TAC contains legal

10   conclusions and Plaintiffs’ characterization of the WIIN Act and NEAP, which speak for

11   themselves, and therefore requires no response. To the extent a response is deemed required,

12   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

13   in paragraph 149, and on that basis, denies said allegations.

14        150.      Defendant asserts that the allegations in paragraph 150 of the TAC contains

15   Plaintiffs’ characterization of Reclamation’s arguments, which no response is necessary; and

16   Plaintiffs’ conclusions of law and characterization of federal case law, which speak for

17   themselves, and therefore requires no response. To the extent a response is deemed required,

18   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

19   in paragraph 150, and on that basis, denies said allegations.

20        151.      Defendant asserts that the allegations in paragraph 151 of the TAC contains

21   Plaintiffs’ conclusions of law and characterization of federal case law, which speak for

22   themselves, and therefore requires no response. To the extent a response is deemed required,

23   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

24   in paragraph 151, and on that basis, denies said allegations.

25        152.      Defendant asserts that the allegations in paragraph 152 of the TAC contains

26   Plaintiffs’ conclusions of law and characterization of the WIIN Act and federal case law, which

27   speak for themselves, and therefore requires no response. To the extent a response is deemed

28   required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

                                                      20
       COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                               Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 21 of 30


1    contained in paragraph 152, and on that basis, denies said allegations.

2         153.      Defendant asserts that the allegations in paragraph 153 of the TAC contains

3    Plaintiffs’ conclusions of law and characterization of the NEPA, which speak for itself, and

4    therefore requires no response. To the extent a response is deemed required, Defendant lacks

5    sufficient information or knowledge to admit or deny the allegations contained in paragraph 153,

6    and on that basis, denies said allegations.

7         154.      Defendant asserts that the allegations in paragraph 154 of the TAC contains

8    Plaintiffs’ conclusions of law, which requires no response. To the extent a response is deemed

9    required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

10   contained in paragraph 154, and on that basis, denies said allegations.

11                                    SECOND CLAIM FOR RELIEF

12                       (Violation of Central Valley Project Improvement Act-
                          Failure to Prepare an EIS for Repayment Contracts)
13
                                          (Against All Defendants)
14
15        155.      Defendant incorporates by reference its responses to paragraphs 1 through 154 as
16   though fully set forth herein.
17        156.      Defendant asserts that the allegations in paragraph 156 of the TAC contains
18   Plaintiffs’ conclusions of law and characterization of the CVIPA and NEPA which speak for
19   themselves, and therefore requires no response. To the extent a response is deemed required,
20   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained
21   in paragraph 156, and on that basis, denies said allegations.
22        157.      Defendant asserts that the allegations in paragraph 157 of the TAC contains
23   Plaintiffs’ conclusions of law and characterization of the CVIPA and NEPA which speak for
24   themselves, and therefore requires no response. To the extent a response is deemed required,
25   Defendant lacks sufficient information or knowledge to admit or deny the allegations contained
26   in paragraph 157, and on that basis, denies said allegations.
27        158.      Defendant asserts that the allegations in paragraph 158 of the TAC contains
28   Plaintiffs’ conclusions of law and characterization of the WIIN Act and CVIPA, which speak for

                                                      21
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 22 of 30


1    themselves, and therefore requires no response. To the extent a response is deemed required,

2    Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

3    in paragraph 158, and on that basis, denies said allegations.

4         159.      Defendant asserts that the allegations in paragraph 159 of the TAC contains

5    Plaintiffs’ conclusions of law, and therefore requires no response. To the extent a response is

6    deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

7    allegations contained in paragraph 159, and on that basis, denies said allegations.

8                                     THIRD CLAIM FOR RELIEF

9                          (Violation of 43 U.S.C. §§ 423e and 551 Requiring -
                            Validation Judgments for CVP Water Contracts)
10
                                          (Against All Defendants)
11
          160.      Defendant incorporates by reference its responses to paragraphs 1 through 159 as
12
     though fully set forth herein.
13
          161.      Defendant asserts that the allegations in paragraph 161 of the TAC contains
14
     Plaintiffs’ conclusions of law and characterization of 43 U.S.C. § 511, which speak for itself and
15
     therefore requires no response. To the extent a response is deemed required, Defendant lacks
16
     sufficient information or knowledge to admit or deny the allegations contained in paragraph 161
17
     and on that basis, denies said allegations.
18
          162.      Defendant asserts that the allegations in paragraph 162 of the TAC contains
19
     Plaintiffs’ conclusions of law and characterization of 43 U.S.C. § 423e, which speak for itself
20
     and therefore requires no response. To the extent a response is deemed required, Defendant
21
     lacks sufficient information or knowledge to admit or deny the allegations contained in
22
     paragraph 162 and on that basis, denies said allegations.
23
          163.      Defendant asserts that the allegations in paragraph 163 of the TAC contains
24
     Plaintiffs’ conclusions of law and characterization of the Memorandum of the Office of Solicitor
25
     dated July 19, 1984, and 43 U.S.C. § 423e, which speak for themselves and therefore requires no
26
     response. To the extent a response is deemed required, Defendant lacks sufficient information or
27
     knowledge to admit or deny the allegations contained in paragraph 163 and on that basis, denies
28

                                                      22
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 23 of 30


1    said allegations.

2            164.    Defendant asserts that the allegations in paragraph 164 of the TAC contains

3    Plaintiffs’ characterization of the certain state court proceedings where the proceedings, records,

4    and orders; and the Minute Order filed on March 16, 2020, in Fresno County Superior Court

5    Case No. 19CECG03887 and attached Exhibit 1 to the TAC speak for themselves, and therefore

6    no requires no response. To the extent a response is deemed required, Defendant lacks sufficient

7    information or knowledge to admit or deny the allegations contained in paragraph 164, and on

8    that basis, denies said allegations.

9            165.    Defendant asserts that the allegations in paragraph 165 of the TAC contains

10   Plaintiffs’ characterization of the certain state court proceedings where the proceedings, records,

11   and orders; and the Minute Order filed on March 16, 2020, in Fresno County Superior Court

12   Case No. 19CECG03887 and attached Exhibit 1 to the TAC speak for themselves, and therefore

13   requires no response. To the extent a response is deemed required, Defendant lacks sufficient

14   information or knowledge to admit or deny the allegations contained in paragraph 165, and on

15   that basis, denies said allegations.

16           166.   Defendant lacks sufficient information or knowledge to admit or deny the

17   allegations contained in Paragraph 166 of the TAC, and on that basis, denies said allegations.

18           167.   Defendant lacks sufficient information or knowledge to admit or deny the

19   allegations contained in Paragraph 167 of the TAC, and on that basis, denies said allegations.

20           168.   Defendant lacks sufficient information or knowledge to admit or deny the

21   allegations contained in Paragraph 168 of the TAC, and on that basis, denies said allegations.

22           169.   Defendant asserts that the allegations contained in paragraph 169 of the TAC

23   constitute legal conclusions to which no response is required. To the extent a response is deemed

24   required, Defendant lacks sufficient information or knowledge to admit or deny the allegations

25   contained in paragraph 169, and on that basis, denies said allegations.

26           170.   Defendant lacks sufficient information or knowledge to admit or deny the

27   allegations contained in Paragraph 170 of the TAC, and on that basis, denies said allegations.

28   ///

                                                      23
           COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                   Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 24 of 30


1          171.      Defendant lacks sufficient information or knowledge to admit or deny the

2    allegations contained in Paragraph 171 of the TAC, and on that basis, denies said allegations.

3          172.      Defendant lacks sufficient information or knowledge to admit or deny the

4    allegations contained in Paragraph 172 of the TAC, and on that basis, denies said allegations.

5          173.      Defendant lacks sufficient information or knowledge to admit or deny the

6    allegations contained in Paragraph 173 of the TAC, and on that basis, denies said allegations.

7          174.      Defendant lacks sufficient information or knowledge to admit or deny the

8    allegations contained in Paragraph 174 of the TAC, and on that basis, denies said allegations.

9          175.      Defendant lacks sufficient information or knowledge to admit or deny the

10   allegations contained in Paragraph 175 of the TAC, and on that basis, denies said allegations.

11         176.      Defendant lacks sufficient information or knowledge to admit or deny the

12   allegations contained in Paragraph 176 of the TAC, and on that basis, denies said allegations.

13         177.      Defendant lacks sufficient information or knowledge to admit or deny the

14   allegations contained in Paragraph 177 of the TAC, and on that basis, denies said allegations.

15         178.      Defendant asserts that the allegations in paragraph 178 of the TAC contains

16   Plaintiffs’ characterization of the certain state court proceedings where the proceedings, records,

17   and orders; and the Minute Order filed on October 26, 2021, in Fresno County Superior Court

18   Case No. 19CECG03887 and attached Exhibit 4 to the TAC speak for themselves, and therefore

19   no requires no response. To the extent a response is deemed required, Defendant lacks sufficient

20   information or knowledge to admit or deny the allegations contained in paragraph 178 and on

21   that basis, denies said allegations.

22        179.      Defendant asserts that the allegations in paragraph 179 of the TAC contains

23   Plaintiffs’ characterization of the certain state court proceedings where the proceedings, records,

24   and orders; and the Minute Order filed on March 18, 2020 in Fresno County Superior Court Case

25   Nos. 20CECG01011 and 20CECG01012 attached Exhibit 5 to the TAC speak for themselves,

26   and therefore no requires no response. To the extent a response is deemed required, Defendant

27   lacks sufficient information or knowledge to admit or deny the allegations contained in

28   paragraph 179 and on that basis, denies said allegations.

                                                      24
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 25 of 30


1         180.       Defendant asserts that the allegations in paragraph 180 of the TAC contains

2    Plaintiffs’ conclusions of law and/or characterization of the APA, 5 U.S.C. § 706, which speak

3    for themselves, and therefore requires no response. To the extent a response is deemed required,

4    Defendant lacks sufficient information or knowledge to admit or deny the allegations contained

5    in paragraph 180, and on that basis, denies said allegations.

6         181.       Defendant asserts that the allegations in paragraph 181 of the TAC contains

7    Plaintiffs’ conclusions of law and therefore requires no response. To the extent a response is

8    deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

9    allegations contained in paragraph 181, and on that basis, denies said allegations.

10        182.       Defendant asserts that the allegations in paragraph 182 of the TAC contains

11   Plaintiffs’ conclusions of law and therefore requires no response. To the extent a response is

12   deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

13   allegations contained in paragraph 182, and on that basis, denies said allegations.

14        183.       Defendant lacks sufficient information or knowledge to admit or deny the

15   allegations contained in Paragraph 183 of the TAC, and on that basis, denies said allegations.

16                                    FOURTH CLAIM FOR RELIEF

17               (Violation of Reclamation Law Requirements for CVP Water Contracts)

18                                       (Against All Defendants)
19        184.       Defendant incorporates by reference its responses to paragraphs 1 through 183 as
20   though fully set forth herein.
21        185.       Defendant asserts that the allegations in paragraph 185 of the TAC contains
22   Plaintiffs’ conclusions of law and/or characterization of the 43 C.F.R. §§ 426.22(b) and (d),
23   which speak for themselves, and therefore requires no response. To the extent a response is
24   deemed required, Defendant lacks sufficient information or knowledge to admit or deny the
25   allegations contained in paragraph 185, and on that basis, denies said allegations.
26        186.       Defendant asserts that the allegations in paragraph 186 of the TAC contains
27   Plaintiffs’ conclusions of law and therefore requires no response. To the extent a response is
28   deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

                                                      25
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 26 of 30


1    allegations contained in paragraph 186, and on that basis, denies said allegations.

2            187.     Defendant lacks sufficient information or knowledge to admit or deny the

3    allegations contained in Paragraph 187 of the TAC, and on that basis, denies said allegations.

4            188.     Defendant lacks sufficient information or knowledge to admit or deny the

5    allegations contained in Paragraph 188 of the TAC, and on that basis, denies said allegations.

6            189.     Defendant asserts that the allegations in paragraph 189 of the TAC contains

7    Plaintiffs’ conclusions of law and therefore requires no response. To the extent a response is

8    deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

9    allegations contained in paragraph 189, and on that basis, denies said allegations.

10           190.     Defendant asserts that the allegations in paragraph 190 of the TAC contains

11   Plaintiffs’ conclusions of law and therefore requires no response. To the extent a response is

12   deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

13   allegations contained in paragraph 190, and on that basis, denies said allegations.

14           191.     Defendant asserts that the allegations in paragraph 191 of the TAC contains

15   Plaintiffs’ conclusions of law to which no response is required. To the extent a response is

16   deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

17   allegations contained in paragraph 191, and on that basis, denies said allegations.

18           192.     Defendant asserts that the allegations in paragraph 192 of the TAC contains

19   Plaintiffs’ conclusions of law to which no response is required. To the extent a response is

20   deemed required, Defendant lacks sufficient information or knowledge to admit or deny the

21   allegations contained in paragraph 192, and on that basis, denies said allegations.

22                                RESPONSE TO PRAYER FOR RELIEF

23           The allegations contained in Plaintiffs’ Prayer for Relief require no response. To the extent

24   that the Prayer for Relief requires a response to any allegations contained therein, Defendant

25   denies each. Defendant further denies that Plaintiffs are entitled to any relief from Defendant,

26   including the relief that Plaintiffs request paragraphs 1 through 8 of their Prayer for Relief.

27   ///

28   ///

                                                        26
           COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                   Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 27 of 30


1                                        AFFIRMATIVE DEFENSES

2                                    FIRST AFFIRMATIVE DEFENSE

3                                          (Failure to State a Claim)

4            As a separate and first affirmative defense, Defendant alleges that the TAC fails to state

5    facts sufficient to constitute a cause of action.

6                                   SECOND AFFIRMATIVE DEFENSE

7                                           (Statute of Limitations)

8            As a separate and second affirmative defense, Defendant alleges that the TAC, either in

9    whole or in part, is barred by the applicable statute of limitations.

10                                   THIRD AFFIRMATIVE DEFENSE

11                              (Failure to Exhaust Administrative Remedies)

12           As a separate and third affirmative defense, Defendant alleges that Plaintiffs have failed to

13   exhaust the required administrative remedies necessary to prevail upon any of the causes of

14   action alleged in the TAC.

15                                  FOURTH AFFIRMATIVE DEFENSE

16                                             (Lack of Standing)

17           As a separate and fourth affirmative defense, Defendant alleges that Plaintiffs lack standing

18   to bring claims against Defendant.

19                                   FIFTH AFFIRMATIVE DEFENSE

20                                       (No Private Right of Action)

21           As a separate and fifth affirmative defense, Defendant alleges that Plaintiffs have no

22   authorized private right of action against Defendants in this matter.

23                                   SIXTH AFFIRMATIVE DEFENSE

24                                         (Impairment of Contract)

25           As a separate and sixth affirmative defense, Defendant alleges that the relief Plaintiffs seek

26   is unlawful because it would result in an impairment of Defendant’s contract.

27   ///

28   ///

                                                         27
           COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                   Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 28 of 30


1                                  SEVENTH AFFIRMATIVE DEFENSE

2                                                 (Vagueness)

3            As a separate and seventh affirmative defense, Defendant alleges that Plaintiffs’ claims for

4    relief as pled in the Complaint are vague and uncertain.

5                                   EIGHTH AFFIRMATIVE DEFENSE

6                                           (Waiver and Estoppel)

7            As a separate and eighth affirmative defense, Defendant alleges that because of their own

8    acts and/or omissions, Plaintiffs have waived any right which they may have had to recover,

9    and/or are estopped from recovering any relief sought against Defendant.

10                                  NINETH AFFIRMATIVE DEFENSE

11                                                  (Laches)

12           As a separate and nineth affirmative defense, Defendant alleges that the TAC, either in

13   whole or in part, is barred by the doctrine of laches.

14                                  TENTH AFFIRMATIVE DEFENSE

15                                           (Improper Remedy)

16           As a separate and tenth affirmative defense, Defendant alleges that Plaintiffs’ claims

17   seeking rescission are barred by applicable law.

18                                      RESERVATION OF RIGHT

19           Defendant reserves the right to assert additional affirmative defenses that may be pertinent

20   to Plaintiffs’ claims if additional facts may become known or based on legal developments.

21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///

                                                        28
           COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                   Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 29 of 30


1                                        PRAYER OF RELIEF

2         WHEREFORE, Defendant prays for judgment as follows:

3         1. The TAC be dismissed, with prejudice and in its entirety;

4         2. Plaintiffs take nothing by reason of their TAC, and that judgment be entered in

5    favor of Defendant;

6         3. Defendant be awarded costs, including attorney fees, if appropriate; and

7         4. Defendant be awarded such other and further relief as the Court deems

8    just and proper.

9
10   Dated: March 25, 2022                       Respectfully submitted,

11
                                                 DANIEL C. CEDERBORG
12                                               County Counsel
13
14                                        By:    /s/ Kyle R. Roberson
                                                 Kyle R. Robeson, Deputy County Counsel
15                                               Attorneys for Defendant, County of Fresno
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    29
       COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                               Case No. 1:16-CV-00307 DAD-SKO
 Case 1:16-cv-00307-DAD-SKO Document 190 Filed 03/25/22 Page 30 of 30


1                                      CERTIFICATE OF SERVICE

2          I hereby certify that on this day, March 25, 2022, a true and correct copy of the foregoing

3    was electronically filed with the Clerk of the Court through its CM/ECF system, which

4    automatically transmits notifications to, and effects service upon, all counsel subscribed to

5    receive notice of filings in this action.

6
                                             By:
7
8
                                                   _______________________
9                                                  Vincent Soliz
10                                                 Paralegal

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      30
        COUNTY OF FRESNO’S ANSWER TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
                                Case No. 1:16-CV-00307 DAD-SKO
